                                                            Case 15-28607-JKO            DocFORM
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                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                         ASSET CASES

Case No.:                         15-28607                                                                                                  Trustee Name:                           Sonya L. Salkin
Case Name:                        HOSTE, GARY FRANCIS                                                                                       Date Filed (f) or Converted (c):        10/20/2015 (f)
For the Period Ending:            09/30/2016                                                                                                §341(a) Meeting Date:                   11/23/2015
                                                                                                                                            Claims Bar Date:                        03/23/2016
                                    1                                             2                       3                           4                        5                                        6

                       Asset Description                                      Petition/          Estimated Net Value               Property              Sales/Funds               Asset Fully Administered (FA)/
                        (Scheduled and                                      Unscheduled         (Value Determined by               Abandoned             Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                   Value                   Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                               Less Liens, Exemptions,
                                                                                                  and Other Costs)

Ref. #
1        The La Costa Beach Club Resort time share                                Unknown                            $0.00                                          $0.00                                           FA
         1504 North Ocean Boulevard, Unit 223,
         Pompano Beach, FL 33062
2        Bank United Checking Account -                                         $37,025.81                           $0.00                                     $36,625.80                                           FA
         XXXXXXXX1425 1730 Sunrise Blvd., Fort
         Lauderdale, FL
3        Citi Bank Checking Account - 3101 N. Federal                                 $70.00                         $0.00                                          $0.00                                           FA
         Highway, Fort Lauderdale, FL
4        Security Deposit with Souza Reality, LLC P.O.                            $1,900.00                          $0.00                                          $0.00                                           FA
         Box 307 Newport, KY 41072
5        TV, Couch Set, Dining Set, Bed, Fouton, Fish                             $1,000.00                          $0.00                                          $0.00                                           FA
         Tank
6        Clothes                                                                   $500.00                           $0.00                                          $0.00                                           FA
7        Suntrust West IRA                                                      $56,400.00                       Unknown                                            $0.00                                      Unknown
8        exam medical equipment and printer                                        $800.00                           $0.00                                          $0.00                                           FA
9        Adversary proceedings regarding transfers                (u)                  $0.00                     Unknown                                            $0.00                                      Unknown
Asset Notes:      AP 16-01324-JKO Salkin v. Hoste- pending
10       AP Salkin v Chan et al                                   (u)                  $0.00                     Unknown                                            $0.00                                      Unknown
Asset Notes:      AP 16-01337-JKO Salkin c. Chan et al- pending
11       Assorted Gold and Silver                                 (u)                  $0.00                  $250,000.00                                           $0.00                                   $250,000.00
Asset Notes:      Stored in security box, recovered from Singapore, transported by Loomis.


TOTALS (Excluding unknown value)                                                                                                                                                        Gross Value of Remaining Assets
                                                                               $97,695.81                     $250,000.00                                      $36,625.80                                   $250,000.00



Major Activities affecting case closing:
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                                                                      INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                       ASSET CASES

Case No.:                     15-28607                                                                                                                    Trustee Name:                             Sonya L. Salkin
Case Name:                    HOSTE, GARY FRANCIS                                                                                                         Date Filed (f) or Converted (c):          10/20/2015 (f)
For the Period Ending:        09/30/2016                                                                                                                  §341(a) Meeting Date:                     11/23/2015
                                                                                                                                                          Claims Bar Date:                          03/23/2016
                                 1                                                 2                               3                                4                        5                                          6

                     Asset Description                                        Petition/                  Estimated Net Value                   Property                 Sales/Funds                Asset Fully Administered (FA)/
                      (Scheduled and                                        Unscheduled                 (Value Determined by                   Abandoned                Received by               Gross Value of Remaining Assets
                 Unscheduled (u) Property)                                     Value                           Trustee,                  OA =§ 554(a) abandon.           the Estate
                                                                                                       Less Liens, Exemptions,
                                                                                                          and Other Costs)

 12/21/2015    1. Trustee retaining counsel to assist in pursuing missing unscheduled assets and potential claims against transferees and obtain the garnished funds. Adversary proceedings pending. (
               9/23/16). SLS
               2. Claims Bar Date: 03/23/2016; initial review. possible objections sent to counsel. 3/26/16 Claims objections holding pending further administration of the case. 9/23/16 SLS
               3. Tax return by Kapila if needed.


Initial Projected Date Of Final Report (TFR):          01/07/2018                            Current Projected Date Of Final Report (TFR):                                       /s/ SONYA L. SALKIN
                                                                                                                                                                                 SONYA L. SALKIN
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                                                                                    FORM 2                                                                   Page No: 1
                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       15-28607                                                                                    Trustee Name:                        Sonya L. Salkin
Case Name:                     HOSTE, GARY FRANCIS                                                                         Bank Name:                           Bank of Texas
Primary Taxpayer ID #:         **-***7321                                                                                  Checking Acct #:                     ******0939
Co-Debtor Taxpayer ID #:                                                                                                   Account Title:
For Period Beginning:          01/01/2000                                                                                  Blanket bond (per case limit):       $129,177,000.00
For Period Ending:             09/30/2016                                                                                  Separate bond (if applicable):


     1                2                        3                                                   4                                             5                    6                 7

Transaction      Check /                   Paid to/                       Description of Transaction                        Uniform           Deposit           Disbursement          Balance
   Date           Ref. #                Received From                                                                      Tran Code            $                    $


02/12/2016           (2)    BANKUNITED NA                         TURNOVER OF GARNISHED FUNDS PURSUANT                      1129-000          $36,625.80                     $0.00       $36,625.80
                                                                  TO DEMAND LETTER 2/4/2016
02/29/2016                  Bank of Texas                         Account Analysis Fee                                      2600-000                 $0.00                  $24.71       $36,601.09
03/07/2016           1001   SONYA SALKIN                          REIMBURSEMENT FOR COST OF SECURITY                        2420-000                 $0.00                  $96.00       $36,505.09
                                                                  BOX PURSUANT TO ORDER DATED 3/4/16 (CP
                                                                  67)
03/14/2016           1002   OUELLETTE & MAULDIN                   payment of court reporter attendance fee pursuant to      2990-000                 $0.00                 $355.00       $36,150.09
                                                                  local admin order 2016-1A
03/31/2016                  Bank of Texas                         Account Analysis Fee                                      2600-000                 $0.00                  $58.55       $36,091.54
04/26/2016           1003   OUELLETTE AND MAULDIN                 PAYMENT OF COURT REPORTER                                 2990-000                 $0.00                 $465.00       $35,626.54
                                                                  ATTENDANCE FEE PER ORDER DATED 4/26/16
                                                                  (CP 97)
04/29/2016                  Bank of Texas                         Account Analysis Fee                                      2600-000                 $0.00                  $56.20       $35,570.34
05/31/2016                  Bank of Texas                         Account Analysis Fee                                      2600-000                 $0.00                  $57.31       $35,513.03
06/30/2016                  Bank of Texas                         Account Analysis Fee                                      2600-000                 $0.00                  $55.30       $35,457.73
07/06/2016           1004   OUELLETTE AND MAUDLIN                 PAYMENT OF COURT REPORT FEES                              2990-000                 $0.00            $1,897.20          $33,560.53
                                                                  PURSUANT TO ORDER DATED 7/5/16 (CP 122)
07/11/2016           1005   Loomis International INC              PAYMENT FOR TRANSPORTATION AND                            2420-000                 $0.00            $4,810.00          $28,750.53
                                                                  STORAGE PER ORDER DATED 6/24/16 (CP 118)
07/29/2016                  Bank of Texas                         Account Analysis Fee                                      2600-000                 $0.00                  $51.99       $28,698.54
08/31/2016                  Bank of Texas                         Account Analysis Fee                                      2600-000                 $0.00                  $46.18       $28,652.36
09/30/2016                  Bank of Texas                         Account Analysis Fee                                      2600-000                 $0.00                  $44.62       $28,607.74




                                                                                                                           SUBTOTALS           $36,625.80                 $8,018.06
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                                                                                    FORM 2                                                                        Page No: 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        15-28607                                                                                        Trustee Name:                        Sonya L. Salkin
Case Name:                      HOSTE, GARY FRANCIS                                                                             Bank Name:                           Bank of Texas
Primary Taxpayer ID #:          **-***7321                                                                                      Checking Acct #:                     ******0939
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:
For Period Beginning:           01/01/2000                                                                                      Blanket bond (per case limit):       $129,177,000.00
For Period Ending:              09/30/2016                                                                                      Separate bond (if applicable):


    1                2                          3                                                   4                                                   5                  6                 7

Transaction      Check /                     Paid to/                       Description of Transaction                           Uniform           Deposit           Disbursement          Balance
   Date           Ref. #                  Received From                                                                         Tran Code            $                    $



                                                                                     TOTALS:                                                         $36,625.80                $8,018.06         $28,607.74
                                                                                         Less: Bank transfers/CDs                                         $0.00                    $0.00
                                                                                     Subtotal                                                        $36,625.80                $8,018.06
                                                                                         Less: Payments to debtors                                        $0.00                    $0.00
                                                                                     Net                                                             $36,625.80                $8,018.06




                     For the period of 01/01/2000 to 09/30/2016                                                For the entire history of the account between 02/12/2016 to 9/30/2016

                     Total Compensable Receipts:                      $36,625.80                               Total Compensable Receipts:                                $36,625.80
                     Total Non-Compensable Receipts:                       $0.00                               Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                    $36,625.80                               Total Comp/Non Comp Receipts:                              $36,625.80
                     Total Internal/Transfer Receipts:                     $0.00                               Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                  $8,018.06                               Total Compensable Disbursements:                            $8,018.06
                     Total Non-Compensable Disbursements:                  $0.00                               Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                $8,018.06                               Total Comp/Non Comp Disbursements:                          $8,018.06
                     Total Internal/Transfer Disbursements:                $0.00                               Total Internal/Transfer Disbursements:                          $0.00
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                                                                                     FORM 2                                                                    Page No: 3
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        15-28607                                                                                     Trustee Name:                         Sonya L. Salkin
Case Name:                      HOSTE, GARY FRANCIS                                                                          Bank Name:                            Bank of Texas
Primary Taxpayer ID #:          **-***7321                                                                                   Checking Acct #:                      ******0939
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:
For Period Beginning:           01/01/2000                                                                                   Blanket bond (per case limit):        $129,177,000.00
For Period Ending:              09/30/2016                                                                                   Separate bond (if applicable):


    1                2                           3                                                   4                                             5                     6             7

Transaction      Check /                     Paid to/                        Description of Transaction                        Uniform          Deposit            Disbursement      Balance
   Date           Ref. #                  Received From                                                                       Tran Code           $                     $


                                                                                                                                                                             NET        ACCOUNT
                                                                                      TOTAL - ALL ACCOUNTS                              NET DEPOSITS                    DISBURSE       BALANCES

                                                                                                                                                 $36,625.80              $8,018.06      $28,607.74




                     For the period of 01/01/2000 to 09/30/2016                                              For the entire history of the account between 02/12/2016 to 9/30/2016

                     Total Compensable Receipts:                      $36,625.80                          Total Compensable Receipts:                                  $36,625.80
                     Total Non-Compensable Receipts:                       $0.00                          Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                    $36,625.80                          Total Comp/Non Comp Receipts:                                $36,625.80
                     Total Internal/Transfer Receipts:                     $0.00                          Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:                  $8,018.06                          Total Compensable Disbursements:                              $8,018.06
                     Total Non-Compensable Disbursements:                  $0.00                          Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:                $8,018.06                          Total Comp/Non Comp Disbursements:                            $8,018.06
                     Total Internal/Transfer Disbursements:                $0.00                          Total Internal/Transfer Disbursements:                            $0.00
